Order entered December 20, 2012

                                    [pic]

                                   In The
                              Court of Appeals
                      Fifth District of Texas at Dallas

                             No. 05-12-00659-CR

                      Anastasia Mikal Solano, Appellant

                                     V.

                        The State of Texas, Appellee

                On Appeal from the County Court at Law No. 1
                            Grayson County, Texas
                      Trial Court Cause No. 2010-1-0242

                                    ORDER

      The Court  GRANTS  appellant's  December  14,  2012  motion  to  amend
appellant's brief.

      We ORDER the Clerk of the Court to file the brief tendered as  of  the
date of this order.



                                       /s/   DAVID L. BRIDGES
                                             JUSTICE

